                                           Case 2:18-cr-00247-RK Document 163 Filed 05/07/19 Page 1 of 6
      AO 245B (Rev 02/18)                Judgment ma Cnmmal Case
                                         Sheet I



                                                         UNITED STATES DISTRICT COURT
                                                  Eastern District of Pennsylvania
                                                                   )
                       UNITED ST A TES OF AMERICA                  )     JUDGMENT IN A CRIMINAL CASE
                                    v.                             )
                                                                   )
                    U-HAUL COMPANY OF PENNSYLVANIA                       Case Number: DPAE2.18CR000247-001
                                                                   )
                                                                   )     USM Number:
                                                                   )
                                                                   )      Eric W Sitarchuk, Esq. & John J. Pease, Esq.
                                                                   )     Defendant's Attorney
       THE DEFENDANT:
       ~ pleaded guilty to count(s)                   6s and 7s

       D pleaded nolo contendere to count{s)
           which was accepted by the court.
       D was found guilty on count(s)
           after a plea of not gmlty.

       The defendant is adjudicated guilty of these offenses:


                                                                                                                              ,.   »-»~,:W.lJ>=ll   <'~



                                                                                                                     7/612014.:
         18:2                                       Aiding and abetting



              The defendant 1s sentenced as provided m pages 2 through                   6        of this Judgment. The sentence 1s l.Illposed pursuant to
       the Sentencing Reform Act of 1984.
       D The defendant has been found not gmlty on count(s)
       Ill Count(s)             1s. 2s, 3s, 4s, and 5s                Dis   ~ are d1sm1ssed on the motion of the United States.

                It 1s ordered that the defendant must notify the Umted States attorney for this district within 30 da_ys of any change of name, residence,
       or ma1hng address until all fines, restitution, costs, and special assessments imposed by this Judwnent are fully paid. If ordered to pay rest1tut1on,
       the defenoant must notify the court and United States attorney ofmatenal changes m economic circumstances.

                                                                                  5/7/2019
                                                                                  Date of Impos1t10n of Judgment



                                                                                 -Signature of~
                                                                                              Judge
                                                                                                    ~-~,-~L
                                                                                                          ~/
                                                                                                            _

                                                                                   Robert F Kelly
                                                                                  Name and Title of Judge


                                                                                  5/7/2019
~itarchuk, Esq, & Joh.!!J, Pease, Esq.                                            Date
 _ .fl~beth f. Abrams, AUSA_ _ _ _

~M<!!h.iliill
--1!Q.b.,!!iQ_n.L §eorce M~<=G•-ry _ _
_ _Pretrial Services _ _ _ _ _ _ _

 __fl.!!.. - - -
                     Case in2:18-cr-00247-RK
AO 245B (Rev 02/18) Judgment   a Cnnunal Case          Document 163 Filed 05/07/19 Page 2 of 6
                    Sheet 4 Probat10n
                                                                                                    Judgment   Page _2._ of         6
DEFENDANT: U-HAUL COMPANY OF PENNSYLVANIA
CASE NUMBER: DPAE2:18CR000247-001
                                                           PROBATIO~

You are hereby sentenced to probation for a term of:
     Two years on each of Counts 6s and 7s, all such terms to run concurrently.




                                               MANDATORY CONDITIONS
1.   You must not comnut another federal, state or local cnme.
2.   You must not unlawfully possess a controlled substance.
3.   You must refram from any unlawful use ofa controlled substance. You must submit to one drug test withm 15 days of placement on
     probation and at least two penodic drug tests thereafter, as determmed by the court.
            D The above drug testing condition is suspended, based on the court's determination that you pose a low nsk of future
                substance abuse (check 1/ applicable/
4.    D You must cooperate m the collect10n ofD:'.\rA as directed by the probation officer. (check if applicable/
5.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 C.S.C. § 20901, et seq.)
          as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
          where you reside, work, are a student, or were convicted of a qualifying offense. (check 1/ applicable)
6.    D You must participate m an approved program for domestic v10Ience. (check 1/ applicable/
7.    D You must make restitut10n m accordance with 18 C.S.C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable}
8. You must pay the assessment imposed m accordance with 18 C.S.C. § 3013.
9. If this judgment imposes a fine, you must pay m accordance with the Schedule of Payments sheet of this judgment.
I 0. You must notify the court of any material change m your economtc circumstances that might affect your ability to pay restitution,
     fines, or special assessments.


You must comply Wlth the standard concht1ons that have been adopted by this court as well as Wlth any other conditions on the attached
page.
                        Case 2:18-cr-00247-RK Document 163 Filed 05/07/19 Page 3 of 6
     AO 245B (Rev 02/18) Judgment ma Cnmmal Case
                         Sheet 4A  Probat10n
                                                                                                   Judgment    Page .   3       of        6
DEFENDANT: U-HAUL COMPANY OF PENNSYLVANIA
CASE NUMBER: DPAE2:18CR000247-001

                                       STANDARD CO~DITIONS OF SUPERVISION
As part of your probation, you must comply with the followmg standard conditions of supervision. These conditions are imposed because
they establish the baste expectations for your behavior while on supervision and identify the nummum tools needed by probation officers
to keep mformed, report to the court about, and bnng about improvements in your conduct and condttion.

1.      You must report to the probation office in the federal Judicial distnct where you are authorized to reside w1thm 72 hours of the time
        you were sentenced, unless the probation officer instructs you to report to a different probation office or withm a different time frame.
2.      After imtially reportmg to the probation office, you will receive mstructions from the court or the probation officer about how and
        when you must report to the probation officer, and you must report to the probation officer as mstructed.
3.      You must not knowingly leave the federal judicial district where you are authonzed to reside without first getting pernussion from the
        court or the probation officer.
4.      You must answer truthfully the questions asked by your probation officer.
5.      You must hve at a place approved by the probation officer. If you plan to change where you live or anything about your lIVing
        arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifymg
        the probation officer in advance 1s not possible due to unanticipated circumstances, you must notify the probation officer withm 72
        hours ofbecommg aware of a change or expected change
6.      You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
        take any items prohibtted by the conditions of your supervision that he or she observes in plam view.
7.      You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
        domg so. If you do not have full-ttme employment you must try to find full-time employment, unless the probation officer excuses
        you from doing so. If you plan to change where you work or anythmg about your work (such as your position or your Job
        responsibilities), you must notify the probation officer at least 10 days before the change. If nottfymg the probation officer at least 10
        days in advance 1s not possible due to unanticipated ctrcumstances, you must notify the probation officer w1thm 72 hours of
        beconung aware of a change or expected change.
8.      You must not communicate or mteract wtth someone you know is engaged m criminal activity. If you know someone has been
        convicted of a felony, you must not knowmgly communicate or mteract with that person without first gettmg the pernussion of the
        probation officer.
9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.     You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
        designed, or was modified for, the specific purpose of causmg bodtly mJury or death to another person such as nunchakus or tasers).
11.     You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant \.vithout
        first gettmg the permission of the court.
12.     If the probation officer determines that you pose a risk to another person (mcludmg an orgamzation), the probation officer may
        reqUtre you to notify the person about the risk and you must comply with that mstruction. The probation officer may contact the
        person and confirm that you have notified the person about the nsk.
13.     You must follow the mstructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has mstructed me on the cond1ttons specified by the court and has provided me with a wntten copy of this
judgment contammg these conditions For further mformation regardmg these conditions, see Overview of Probation and Supervised
Release Condtttons, available at: www.uscourts.gov.

Defendant's Signature                                                                                         Date
                    Case 2:18-cr-00247-RK
AO 2458 (Rev 02/18) Judgment ma Crimmal Case      Document 163 Filed 05/07/19 Page 4 of 6
                    Sheet 4D  Probatmn
                                                                                           Judgment   Page   4    of
DEFENDANT: U-HAUL COMPANY OF PENNSYLVANIA
CASE NUMBER: DPAE2:18CR000247-001

                                 SPECIAL CONDITIO~S 01'' SL'PERVISIO~


The U.S Probation Office shall have full and complete access to any and all requested financial information of the
defendant corporation. If the U.S. Probation Office believes that the defendant corporation is not acting in good faith
regarding the payment of financial penalties, the Court shall be notified, and appropriate action shall be taken.

The defendant shall abide by the terms of the Hazardous Materials Regulation, 49 C F .R. Parts 100-185.

The defendant shall implement a propane compliance program which includes the following requirements· (1) hazmat
employees fill all cylinders in accordance with the requirements of 49 C F.R. section 173.304, 173.304a, and all applicable
state law; (2) records of filled cylinders, including serial number and qualification date, are kept; and (3) non-certified
employees do not fill cylinders.

The defendant shall report to the U.S. Probation Office, the U.S. Attorney's Office, and U.S Department of Transportation
on its propane compliance program within 45 days of sentencing and submit follow up reports at 12 months and 24 months
after sentencing
                         Case 2:18-cr-00247-RK Document 163 Filed 05/07/19 Page 5 of 6
AO 2458 (Rev 02/18)    Judgment ma Cnmmal Case
                       Sheet 5 Cnmmal Monetary Penalhes
                                                                                                       Judgment     Page __.5 _   of                       6
DEFENDANT: U-HAUL COMPANY OF PENNSYLVANIA
CASE NUMBER: DPAE2:18CR000247-001
                                              CRIMINAL MONET ARY PENAL TIES

        The defendant must pay the total crimmal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment                JVT A Assessment*                  Fine                         Restitution
TOTALS              $ 800.00                  $ 0.00                             $ 1,000,000.00               $ 0.00



    D   The determmatton of restitut10n is deferred until                . An Amended Judgment zn a Cnmznal Case {AO 245CJ will be entered
        after such determmat10n.

    D   The defendant must make restttutton (mcluding commurnty rest1tut10n) to the followmg payees m the amount hsted below.

        If the defendant makes a partial payment, each payee shall receive an approx1mately proport10ned paynient, unless specified otherw1se m
        the pnority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal v1ct1IDS must be paid
        before the Gnited States is paid.

Name of Payee                                                      Total Loss**                                           Priority or Percenta~e
i                                                                                                                       ,-»~      «,cy ·''1\Wf'1)''»w-"'%"'''*'(#m'   Y




TOTALS                              $                         0.00           $                         0 00


D       Restitution amount ordered pursuant to plea agreement $

D       The defendant must pay mterest on rest1tut1on and a fme of more than $2,500, unless the restitution or fine 1s paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for dehnquency and default, pursuant to 18 lJ .S.C. § 3612(g).

D       The court determined that the defendant does not have the ab1hty to pay mterest and it 1s ordered that:

         D   the mterest reqmrement 1s waived for the        D fine      D rest1tut1on.
         D   the mterest reqmrement for the      D    fine    [l     rest1tut10n 1s modified as follows·

* Justice for Victims ofTrafficking Act of 2015, Pub. L. No. 114-22.
** Fmdmgs for the total amount oflosses are reqmred under Chapters I 09A, 110, l lOA, and 113A of Title 18 for offenses comm1tted on or
after September 13, I 994, but before Apnl 23, 1996.
                       Case 2:18-cr-00247-RK Document 163 Filed 05/07/19 Page 6 of 6
AO 245B (Rev 02118) Judgment m a Cnmmal Case
                    Sheet 6 - Schedule of Payments

                                                                                                           Judgment    Page     _6 _   of           6
DEFENDANT: U-HAUL COMPANY OF PENNSYLVANIA
CASE 1',1.,':\1BER: DPAE2·18CR000247-001

                                                      SCHEDt;LE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total cmnmal monetary penalties is due as follows:

A    liZl   Lump sum payment of$        1,000,800.00          due immediately, balance due

            D    not later than                                   , or
            D    m accordance with D        C,    D    D,     D    E, or      ~   F below; or

B    D      Payment to begm immediately (may be combmed with               DC.         DD.or        D F below); or

C    D      Payment in equal                       (e.g. weekly. monthly. quarterly) mstallments of $                             over a penod of
                          (e g. months or years), to commence                       (e g. 30 or 60 days) after the date of this Judgment; or

D    D      Payment m equal                       (e g. weekly. monthly. quarterly) mstallments of $                          over a period of
                          (eg. months or years), to commence                       (e g. 30 or 60 days) after release from impnsonment to a
            term of supervision; or

E     D     Payment during the term of supervised release will commence within                 (e.g. 30 or 60 days) after release from
            impnsonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time, or

F    liZl Special mstructions regardmg the payment of cnminal monetary penalties.
            It is further ordered that U-Haul Corporation of Pennsylvania shall pay a fine in the amount of $1,000,000.00 which
            is due immediately. It is further ordered that defendant corporation shall pay to the United States a total special
            assessment of $800.00, which shall be due immediately



Cnless the court has expressly ordered otherwise, if this judgment imposes impnsonment, payment of cnmmal monetary penalties is due dunng
the period ofimpnsonment. All crimmal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate
Fmancial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any cnmmal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case ~umbers (including defendant number), Total Amount, Joint and Several Amount,
     and correspondmg payee, if appropnate.




D    The defendant shall pay the cost of prosecut10n.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's mterest in the following property to the Cnited States:



Payments shall be applied in the following order: (I) assessment, (2) restitutton pnnc1pal, (3) restitut10n interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) NTA assessment, (8) penalties, and (9) costs, includmg cost ofprosecutton and court costs.
